 

%A£U]lumm/] m 8'°1" ix

Case 1:14-cr-10363-RGS Document 1525 Filed 08/01/18 Page 1 of 1

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

)

UNITED STATES OF AMERICA )
) Court No.: l4-cr-10363-RGS-3-9, ll-12

v. )

)

GENE SVIRSKIY, ET AL., )

)

Defendants. )

)

 

JQIN.'.LMQ.'IIQN.HIR.S£HEDIIJNG_QRDER
The government and Gene Svirskiy, Christopher Leary, Joseph Evanosky, Scott Connolly,

Sharon Carter, Alla Stepanets, Gregory Conigliaro, Kathy Chin, and Michelle Thomas
(collectively, “the Parties”) jointly file this scheduling request with the Court to memorialize their
agreed-upon proposed schedule governing the Parties’ pretrial disclosures and submissions in
connection With the trial that is scheduled in this matter for 0ctober 2, 2018 (Dkt. 1396). The
Paities ask that the Court Order as follows:

1. The government will serve its witness list on defendants by August 7, 2018.

2. The government will serve notice under Fed. R. Crim. P. 404(b) by August 7, 2018.

3. The government will serve its expert disclosures under Fed. R. Crim. P. 16(a)(1)(G)
by August 17, 2018.

4. The Parties Will serve their respective exhibit lists by August 24, 2018.l

5. Defendants will serve their expert disclosures under Fed. R. Crim. P. 16(b)(1)(C)
by September 17, 2018.

6. Upon issuance by the Court of a revised “Order Setting Criminal Case for Jury
Trial,” reflecting the October 2, 2018 trial date, all other dates will be governed by
the terms of that Order.

 

' The Parties have agreed that the government will: (a) produce a searchable exhibit list, with
columns that contain not only the bates number range for each exhibit, but also the exhibit
number(s) assigned to that same document if it previously was admitted during either the Cadden
or Chin trials; and (b) provide the defendants With electronic copies of the exhibits in .pdf form by
August 31, 2018.

